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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

COUNTY CONCRETE CORPORATION,                Civil Action No.

            Plaintiff,

v.

GREENWICH INSURANCE COMPANY,

            Defendant.




____________________________________________________________________________

                     CIVIL ACTION COMPLAINT AND JURY DEMAND
____________________________________________________________________________




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        Plaintiff County Concrete Corporation (“County Concrete”) of Roxbury Township, New

Jersey, complaining of Defendant Greenwich Insurance Company (“Greenwich”), states as

follows:

                                            THE PARTIES

        1.      County Concrete is a New Jersey corporation with its corporate headquarters in

Roxbury Township, in the County of Morris, State of New Jersey.

        2.      Defendant Greenwich is a Delaware corporation with a residence in Stamford, in

the County of Fairfield, State of Connecticut.

        3.      Upon information and belief, there is complete diversity of citizenship of the parties.

                                    JURISDICTION AND VENUE

        4.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332, in that the Plaintiff and the Defendant are citizens of different states, the amount in

controversy exceeds $75,000, exclusive of interest and costs, and the matter presents a case of

actual controversy between the parties.

        5.      Venue is appropriate in this juridical district pursuant to 28 U.S.C. § 1391(a) since

a substantial part of the events of omissions giving rise to the claim occurred in this judicial district

within the meaning of 28 U.S.C. § 1391(b)(2).

                                     FACTUAL BACKGROUND

        6.      County Concrete produces and delivers concrete of the type and specification

requested by its customers.

        7.      On August 25, 2017, a scale used by County Concrete to measure the

percentages of materials added to concrete batches experienced electromagnetic interference.

        8.      County Concrete was not aware of the interference at the time it occurred.

        9.      As a result of the interference, weight measurements were incorrect and

insufficient concrete material was added to a batch of concrete, resulting in concrete that was not

strong enough to meet certain customers’ specifications.


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       10.     On August 28, 2017, County Concrete delivered 77 cubic yards of the defective

concrete to a residence hall construction project at Kean University (the “Kean Project”).

       11.     Upon delivery, County Concrete’s defective concrete was incorporated into the

Kean Project’s structural steel work by an entity other than County Concrete.

       12.     Also on August 28, 2017, County Concrete delivered 28 cubic yards of the

defective concrete to pump station project in Montvale, New Jersey (the “Montvale Project”).

       13.     Upon delivery, County Concrete’s defective concrete was incorporated into the

Montvale Project’s structural steel work by an entity other than County Concrete.

       14.     County Concrete first discovered the deficiency in the concrete on the afternoon

of August 28, 2017, after deliveries had already been completed to the Kean Project and Montvale

Project.

       15.     Upon discovering the deficiency in the concrete, County Concrete notified both the

Kean Project and Montvale Project.

       16.     By the time County Concrete notified the Kean Project and Montvale Project of the

deficiency, the defective concrete had hardened enough that removal of the concrete while wet

was no longer feasible.

       17.     The concrete hardened around the structural steel work, including rebar and forms,

at the Kean Project and the Montvale Project, necessitating demolition, removal, and replacement

work and causing project delays.

       18.     County Concrete is liable to the respective owners and/or general contractors for

these costs and delays at the Kean Project and Montvale Project.

                                           The Policy

       19.     County Concrete purchased a commercial general liability policy identifiable by

policy number CGS740914404 from Greenwich for the policy period of October 1, 2016 to

October 1, 2017 (the “Policy”). A copy of the Policy is attached hereto as Exhibit A.

       20.     The Policy lists County Concrete as the Named Insured and provides limits of


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$1,000,000 per occurrence and $2,000,000 for the general aggregate.

       21.       The base form of the Policy, identifiable as CG 00 01 04 13, contains the bodily

injury and property damage liability insuring agreement, which provides, in pertinent part, that

Greenwich “will pay those sums that the insured becomes legally obligated to pay as damages

because of ‘bodily injury’ or ‘property damage’ to which this insurance applies…. This insurance

applies to ‘bodily injury’ and ‘property damage’ only if … [t]he ‘bodily injury’ or ‘property damage’

is caused by an ‘occurrence’ that takes place … during the policy period.”

                                            The Claim

       22.       County Concrete, through its broker, USI Insurance Services (“USI”), tendered a

claim to Greenwich in January 2018 seeking coverage under the Policy for the costs associated

with the Kean Project and Montvale Project (the “Claim”).

       23.       On July 24, 2018, Greenwich instructed USI to report the claim to Sedgwick Claims

Management Services, Inc. (“Sedgwick”).

       24.       Acting on behalf of Greenwich, on August 23, 2018, Sedgwick informed USI via

email that the Claim would not be covered. USI conveyed this information to County Concrete. A

copy of the August 23, 2018 email is attached hereto as Exhibit B.

       25.       In the August 23, 2018 email, Sedgwick cited exclusions j(5), j(6), m, and n, all

found on 5 of 16 in the CG 00 01 04 13 base form of the Policy, as bases to not provide coverage

for the Claim.

       26.       Despite multiple letters setting forth County Concrete’s coverage position why

these exclusions do not apply, Greenwich failed to update its coverage position or even

communicate with County Concrete to acknowledge County Concrete’s position.

                                      FIRST COUNT
                           BREACH OF CONTRACT: KEAN PROJECT

       27.       County Concrete restates and reiterates each of the allegations contained in

Paragraphs 1 through 26 as if fully stated herein.



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       28.     The Policy is a contract between County Concrete and Greenwich.

       29.     County Concrete provided Greenwich adequate notice of the losses associated

with the Kean Project.

       30.     Pursuant to the terms of the Policy, Greenwich owes a duty to County Concrete to

provide coverage for those sums that the insured is obligated to pay because of “property

damage” caused by an “occurrence.”

       31.     The sums County Concrete was obligated to pay as a result of its delivery of

defective concrete to the Kean Project constitutes damages because of “property damage”

caused by an “occurrence.”

       32.     By failing to provide the coverage owed under the Policy, Greenwich is in breach

of contract.

                                     SECOND COUNT
                         BREACH OF CONTRACT: MONTVALE PROJECT

       33.     County Concrete restates and reiterates each of the allegations contained in

Paragraphs 1 through 26 as if fully stated herein.

       34.     The Policy is a contract between County Concrete and Greenwich.

       35.     County Concrete provided Greenwich adequate notice of the losses associated

with the Montvale Project.

       36.     Pursuant to the terms of the Policy, Greenwich owes a duty to County Concrete to

provide coverage for those sums that the insured is obligated to pay because of “property

damage” caused by an “occurrence.”

       37.     The sums County Concrete was obligated to pay as a result of its delivery of

defective concrete to the Montvale Project constitutes damages because of “property damage”

caused by an “occurrence.”

       38.     By failing to provide the coverage owed under the Policy, Greenwich is in breach

of contract.



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                                 THIRD COUNT
             BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING

       39.     Plaintiff restates and reiterates each of the allegations contained in Paragraphs 1

through 38 as if fully stated herein.

       40.     The Policy contains an implied covenant of good faith and fair dealing.

       41.     Greenwich breached the implied covenant of good faith and fair dealing in the

following ways:

                  i. Greenwich denied County Concrete of the benefits of the Policy without a

                    reasonable basis to do so;

                ii. Greenwich knew or should have known that there was no reasonable basis to

                    deny County Concrete of the benefits of the Policy because Greenwich was

                    given adequate knowledge of the facts giving rise to County Concrete’s claims

                    for coverage arising out of the Kean Project and Montvale Project, which clearly

                    establish a basis for coverage;

               iii. Greenwich willfully ignored the facts provided to it, failing to even acknowledge

                    County Concrete’s coverage position, despite numerous attempts by County

                    Concrete to engage in good faith discussions; and

               iv. Greenwich failed to conduct any analysis of the facts of the claims arising out

                    of the Kean Project and Montvale Project, and instead simply asserted that

                    County Concrete was not entitled to coverage under the Policy.

       42.     As a result of Greenwich’s reckless indifference to facts and evidence submitted

by County Concrete, County Concrete has suffered damages.

                                         JURY DEMAND

       The Plaintiff demands trial by a jury on all of the triable issues of this Complaint, pursuant

to New Jersey Court Rule 1.8-2(b) and 4:35-1(a).




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                                  PRAYER FOR RELIEF

       Wherefore, County Concrete requests judgment against Greenwich for damages, together

with attorneys’ fees pursuant to New Jersey Court Rule 4:42-9(a)(6), costs of suit, punitive

damages, and any other relief as the court may deem proper.



Dated: January 30, 2019                           Saxe Doernberger & Vita, P.C.


                                                  By:



                                                  Bethany L. Barrese
                                                  N.J. Bar No.: 017622012
                                                  Attorney for Plaintiff
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                            CERTIFICATION OF NO OTHER ACTIONS

        Pursuant to R. 4:5-1, I hereby certify that the dispute about which I am suing is not the

subject of any other action pending in any other court or a pending arbitration proceeding to the

best of my knowledge and belief. Also, to the best of my knowledge and belief no other action or

arbitration proceeding is contemplated. Further, other than the parties set forth in this complaint,

I know of no other parties that should be made a part of this lawsuit. In addition, I recognize my

continuing obligation to file and serve on all parties and the Court an amended certification if there

is a change in the facts stated in this original certification.

                               DESIGNATION OF TRIAL COUNSEL

        Pursuant to R. 4:5-4, Plaintiff hereby designates Bethany L. Barrese of Saxe Doernberger

& Vita, P.C. as trial counsel for this action.



Dated: January 30, 2019                                  Saxe Doernberger & Vita, P.C.

                                                         By:



                                                         Bethany L. Barrese
                                                         N.J. Bar No.: 017622012
                                                         Attorney for Plaintiff
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